                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             STATESVILLE DIVISION
                      CRIMINAL DOCKET NO. 5:06CR22-12-RLV

UNITED STATES OF AMERICA        )
                                )
            vs.                 )                         SCHEDULING ORDER
                                )
JONATHON TERRELL PATTERSON )
                                )
           Defendant.           )
________________________________)


      THIS MATTER is before the Court on the Judgment of the Fourth Circuit Court of

Appeals, filed, January 4, 20111, remanding this case for re-sentencing.

      IT IS, THEREFORE, ORDERED THAT:

      1)       This matter is hereby scheduled for re-sentencing on Tuesday,

               December 13, 2011, at 2:00 p. m., in the United States Courthouse, 200

               West Broad Street, 2nd floor Courtroom, Statesville, North Carolina; and

      2)       A copy of this Order shall be sent to the Defendant, Defense Counsel,

               United States Attorney, United States Marshal Service, United States

               Probation Office.


                                               Signed: September 30, 2011




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          The Mandate in this case was issued on January 26, 2011.


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